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                             UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

    SONY MUSIC ENTERTAINMENT,ei al..

                           Plaintiffs,
                                                         Case No. l:18-cv-00950-LO-JFA
                    V.



    COX COMMUNICATIONS,INC., et al.,

                           Defendants.


      ORDER GRANTING CONSENT MOTION TO MODIFY THE RULE 16(B)JOINT
                                            DISCOVERY PLAN


            Before this Court is the Parties' Consent Motion to Modify the Discovery Schedule. After

   considering this Motion, the Court is of the opinion that the Motion should be, and it hereby is,

   GRANTED. The Court hereby orders that the Discovery Plan shall be modified as follows:



    Event                                Original Date                 Revised Date


    Deadline to amend exhibits to        May 8, 2019                   May 15, 2019
    Plaintiffs' Amended
    Complaint
    Responsive expert reports            May 8, 2019                   May 15,2019

    Reply expert reports                 May 30, 2019                  June 13,2019

    Final pre-trial conference           June 21,2019                  June 21,2019

    Expert depositions                   June 14,2019                  July 2,2019

    Close offact discovery               June 14,2019                  July 2,2019

    Exhibits, designations, and          June 21,2019                  July 16,2019
    stipulations
    Objections to exhibits,              July 1,2019                   July 26,2019
    designations, and stipulations
    Motions for summary                  July 26,2019                  August 9, 2019
    judgment
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